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 4   Telephone: (916) 554-2729
 5
 6
                      IN THE UNITED STATES DISTRICT COURT
 7
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,       )       CR. No. S-07-437 WBS
10                                   )
                    Plaintiff,       )
11                                   )       MOTION TO DISMISS INDICTMENT
                  v.                 )       AND [PROPOSED] ORDER
12                                   )
     ANDREW WESLEY SIMS,             )
13                                   )
                     Defendant.      )
14   ________________________________)
15
16        Pursuant to Rule 48 of the Federal Rules of Criminal
17   Procedure, Plaintiff, United States of America, by and through
18   its undersigned attorney, moves this Court for an order
19   dismissing the indictment against Andrew Wesley Sims in Case No.
20   S-07-437 WBS, filed on September 27, 2007.       The two-count
21   indictment charges the defendant with violating 21         U.S.C. §§ 846
22   and 841(a)(1) – Conspiracy to Manufacture Marijuana and
23   Manufacturing Marijuana.
24        This motion is made in the interest of justice in light of
25   evidence discovered post indictment regarding the defendant’s
26   participation in the conspiracy to manufacture marijuana and his
27   actual involvement in the cultivation of the marijuana at issue
28   in this case.

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 1        The defendant is currently out of custody under the
 2   supervision of a Pretrial Services Officer.
 3
 4   DATE: August 21, 2008                     McGREGOR W. SCOTT
                                               United States Attorney
 5
 6                                        By: /s/ Michael M. Beckwith
                                              MICHAEL M. BECKWITH
 7                                            Assistant U.S. Attorney
 8
 9
10                                     O R D E R
11
12                The indictment in this case is hereby DISMISSED as
13   against defendant ANDREW WESLEY SIMS only.
14   DATED:    August 22, 2008
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